                              Case 19-11372-btb           Doc 20          Entered 03/27/19 00:23:26                  Page 1 of 2

 Fill in this information to identify your case:


 Debtor 1           JOEL   CROSBY SINNOTT
                    ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: District of Nevada
                                         __________    District of ___________

 Case number          19-11372-BTB
                     ___________________________________________                                       Check if this is:
  (If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
                           106I                                                                           MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                           Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                  Employed                                         Employed
    employers.                                                              Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                    Electronic Engineer
                                                                       __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name              Electronic Board Building
                                                                      __________________________________             __________________________________


                                         Employer’s address            8720 Castle View Avenue
                                                                      _______________________________________      ________________________________________
                                                                        Number Street                                Number   Street

                                                                      _______________________________________      ________________________________________

                                                                      _______________________________________      ________________________________________

                                                                       Las Vegas             NV     89129
                                                                      _______________________________________      ________________________________________
                                                                       City            State  ZIP Code               City                State ZIP Code

                                         How long employed there?          8_______
                                                                             years                                    _______
                                                                                                                      8 years

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.       2,800.00
                                                                                                 $___________              $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.       2,800.00
                                                                                                 $__________               $____________




Official Form 106I                                                Schedule I: Your Income                                                       page 1
                               Case 19-11372-btb                             Doc 20               Entered 03/27/19 00:23:26                       Page 2 of 2
Debtor 1         JOEL   CROSBY SINNOTT
                  _______________________________________________________                                                                            19-11372-BTB
                                                                                                                              Case number (if known)_____________________________________
                  First Name          Middle Name                Last Name



                                                                                                                             For Debtor 1         For Debtor 2 or
                                                                                                                                                  non-filing spouse

   Copy line 4 here ...............................................................................................   4.         2,800.00
                                                                                                                              $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                5a.    $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                                 5b.    $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                                 5c.    $____________            $_____________
     5d. Required repayments of retirement fund loans                                                                 5d.    $____________            $_____________
     5e. Insurance                                                                                                    5e.    $____________            $_____________
     5f. Domestic support obligations                                                                                 5f.    $____________            $_____________

     5g. Union dues                                                                                                   5g.    $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                                5h.   + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                       6.     $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.         2,800.00
                                                                                                                             $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                             $____________            $_____________
           monthly net income.                                                                                        8a.
     8b. Interest and dividends                                                                                       8b.    $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                             $____________            $_____________
           settlement, and property settlement.                                                                       8c.
     8d. Unemployment compensation                                                                                    8d.    $____________            $_____________
     8e. Social Security                                                                                              8e.    $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                    $____________            $_____________

     8g. Pension or retirement income                                                                                 8g.    $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                               8h.   + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                             9.     $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                 2,800.00
                                                                                                                             $___________     +       $_____________     =        2,800.00
                                                                                                                                                                             $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                        10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                       11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                             12.
                                                                                                                                                                                  2,800.00
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
           Yes. Explain:         Decrease due to less available work


                                                                                        Schedule I: Your Income                                                                page 2
